 

«. ™ Case 3:21-cr-01215-CAB Document 31 Filed 08/23/21 PagelD.67 Page 1 of 2

AO 245B (CASD Rev. 1/19) Judgment in a Criminal Case

 

 

 

 

 

UNITED STATES DISTRICT COURT | aug 93 299)
SOUTHERN DISTRICT OF CALIFORNIA | -

 

 

 

INA US Re COURT

 

 

UNITED STATES OF AMERICA JUDGMENT IN A CRIN® A SL
V. (For Offenses Committed On! Scher slowenbect, teas Soy
DANIEL NETTLES (1) Case Number: 21CR1215-CAB

EZEKIEL E. CORTEZ

Defendant’s Attormey

 

USM Number 20571298

[] -
THE DEFENDANT:
pleaded guilty to count(s) ONE (1) OF THE ONE-COUNT INFORMATION

 

’ [7] was found guilty on count(s)

after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):

 

 

 

Count
Title & Section Nature of Offense Number(s)
18 USC 751(a), 4082(a) = ESCAPE FROM FEDERAL CUSTODY 1
The defendant is sentenced as provided in pages 2 through 2 of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984. °
L] The defendant has been found not guilty on count(s)
[] Count(s) is dismissed on the motion of the United States.’

Assessment : $100.00 - WAIVED

Cl JVTA Assessment*: $ —
*Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.

No fine . . ©) Forfeiture pursuant to order filed - , included herein.

IT IS ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States Attorney of
any material change in the defendant’s economic circumstances.

August 20, 2951)

Date of Imposition éf Sentence

HON. Cathy Ann Bettcivengo
UNITED STATES DISTRICT JUDGE

 

 

 
 

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DEFENDANT: DANIEL NETTLES (1) Judgment - Page 2 of 2
CASE NUMBER: 21CR1215-CAB

IMPRISONMENT

The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of:
TIME SERVED (149 DAYS).

 

Li Sentence imposed pursuant to Title 8 USC Section 1326(b).
(]_ The court makes the following recommendations to the Bureau of Prisons:

[] The defendant is remanded to the custody of the United States Marshal.

The defendant must surrender to the United States Marshal for this district:
LI at A.M. on

 

 

L. as notified by the United States Marshal.
qo The defendant must surrender for service of sentence at the institution designated by the Bureau of
Prisons: . , ,
C] onor before
CL! as notified by the United States Marshal.
CL] as notified by the Probation or Pretrial Services Office.

 

 

 

 

 

RETURN
I have executed this judgment as follows:
Defendant delivered on to
at _ , with a certified copy of this judgment.
UNITED STATES MARSHAL
By DEPUTY UNITED STATES MARSHAL

i

» 21CR1215-CAB
